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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


  NETLIST, INC.                                         Civil Case No. 2:22-cv00293-JRG
                                                        (Lead Case)
                Plaintiff,
                                                        JURY TRIAL DEMANDED
  v.

  SAMSUNG ELECTRONICS CO., LTD, et al.

                Defendants.


  NETLIST, INC.                                         Civil Case No. 2:22-cv-00294-JRG
                                                        (Member Case)
                Plaintiff,
                                                        JURY TRIAL DEMANDED
  v.

  MICRON TECHNOLOGY TEXAS, LLC, et al.

                Defendants.



                              JOINT MOTION TO EXTEND DEADLINES


        Plaintiff Netlist, Inc. (“Netlist”) and Defendants Samsung Electronics Co., Ltd., Samsung

 Electronics America, Inc. and Samsung Semiconductor Inc. (collectively “Samsung”) file this joint

 motion and request that the Court extend the existing briefing deadlines for the following: (1)

 Samsung’s opposition to Netlist’s Motion for Leave to File Second Amended Complaint (Dkt. No.

 62) to February 10, 2022; and (2) Netlist’s reply in support of same to February 24, 2023.

        Samsung’s current deadline to oppose Netlist’s Motion for Leave to File Second Amended

 Complaint is February 3, 2023, and Netlist’s deadline to file its reply would be 7 days after

 Samsung’s opposition (i.e., February 10, 2023, assuming Samsung filed on February 3, 2023).

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 The parties have agreed on these extensions to accommodate the schedule of the parties’ counsel

 and provide additional time for response.


        WHEREFORE, the parties respectfully request that the Court enter an order extending the

 following deadlines:


             Event                           Current                        Proposed

    Response to Motion for             February 3, 2023                 February 10, 2023
     Leave to File Second
     Amended Complaint

   Reply to Motion for Leave           February 10,2023                 February 24, 2023
    to File Second Amended
            Complaint


 Dated: January 25, 2023                               Respectfully submitted,

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                                                    Attorneys for Plaintiff Netlist, Inc.



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that counsel of record who are deemed to have consented

 to electronic services are being served with a copy of this document via the Court’s CM/ECF

 system per Local Rule CV-5(a)(3) on this the 25th day of January, 2023.



                                                    /s/ Melissa R. Smith
                                                        Melissa R. Smith



                              CERTIFICATE OF CONFERENCE

        I hereby certify that Counsel for Plaintiff and Counsel for Defendants have complied with

 the meet and confer requirement in Local Rule CV-7(h) regarding this Motion. The Parties are in

 agreement and are seeking joint relief.


                                                    /s/ Melissa R. Smith
                                                        Melissa R. Smith




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